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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS

                                                )
 LEONARD SOKOLOW, Individually and on           )   Case No. 1:18-cv-01039
 Behalf of All Others Similarly Situated,       )
                                                )   Judge Robert M. Dow, Jr.
                      Plaintiff,                )
                                                )
        vs.                                     )
                                                )
 LJM FUNDS MANAGEMENT, LTD., TWO                )
 ROADS SHARED TRUST, NORTHERN                   )
 LIGHTS DISTRIBUTORS, LLC, ANDREW               )
 ROGERS, MARK GERTSEN, MARK                     )
 GARBIN, NEIL KAUFMAN, ANITA                    )
 KRUG, JAMES COLANTINO, ANISH                   )
 PARVATANENI, and ANTHONY CAINE,                )
                                                )
                                                )
                      Defendants.
                                                )
                                                )
 STANLEY BENNETT, Individually and on           )   Case No. 1:18-cv-01312
 Behalf of All Others Similarly Situated,       )
                                                )   Judge Andrea R. Wood
                      Plaintiff,                )
                                                )
        vs.                                     )
                                                )
 LJM FUNDS MANAGEMENT, LTD., TWO                )
 ROADS SHARED TRUST, NORTHERN                   )
 LIGHTS DISTRIBUTORS, LLC, ANDREW               )
 ROGERS, MARK GERTSEN, MARK                     )
 GARBIN, NEIL KAUFMAN, ANITA                    )
 KRUG, JAMES COLANTINO, ANISH                   )
 PARVATANENI, and ANTHONY CAINE,                )
                                                )
                                                )
                      Defendants.
                                                )

(Caption continued on the following page)

DECLARATION OF CAROL V. GILDEN IN SUPPORT OF THE MOTION OF LYNDA
    GODKIN FOR CONSOLIDATION OF THE ACTIONS, APPOINTMENT AS
      LEAD PLAINTIFF AND APPROVAL OF SELECTION OF COUNSEL


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                                                )
 JAMES NOSEWICZ, Individually and on            )   Case No. 1:18-cv-01589
 Behalf of All Others Similarly Situated,       )
                                                )   Judge Robert W. Gettleman
                        Plaintiff,              )
                                                )
        vs.                                     )
                                                )
 LJM FUNDS MANAGEMENT, LTD., TWO                )
 ROADS SHARED TRUST, NORTHERN                   )
 LIGHTS DISTRIBUTORS, LLC, ANDREW               )
 ROGERS, MARK GERTSEN, MARK                     )
 GARBIN, NEIL KAUFMAN, ANITA                    )
 KRUG, JAMES COLANTINO, ANISH                   )
 PARVATANENI, and ANTHONY CAINE,                )
                                                )
                                                )
                        Defendants.
                                                )



 COHEN MILSTEIN SELLERS & TOLL PLLC                 MOTLEY RICE LLC
 Carol V. Gilden                                    Gregg S. Levin
 Bar No. 06185530                                   James M. Hughes
 190 South LaSalle Street, Suite 1705               Joshua C. Littlejohn
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                                                    Email: glevin@motleyrice.com
 Counsel for Lynda Godkin and                              jhughes@motleyrice.com
 Proposed Liaison Counsel for the Class                    jlittlejohn@motleyrice.com

                                                    Counsel for Lynda Godkin and
                                                    Proposed Lead Counsel for the Class


Dated: April 10, 2018




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       I, Carol V. Gilden, declare as follows:

       1.      I am a partner at the law firm of Cohen Milstein Sellers & Toll PLLC (“Cohen

Milstein”).   I submit this declaration in support of the motion filed by Lynda Godkin for

consolidation of the above-captioned actions, appointment as Lead Plaintiff, and approval of her

selection of Motley Rice LLC (“Motley Rice”) to serve as Lead Counsel for the class and Cohen

Milstein to serve as Liaison Counsel for the class.

       2.      Attached are true and correct copies of the following exhibits:

               Exhibit A:     Lynda Godkin’s Certification;

               Exhibit B:     Lynda Godkin’s Estimated Losses;

               Exhibit C:     Notice of pendency of class action published in Business Wire, a
                              national business-oriented wire service, on February 9, 2018;

               Exhibit D:     Motley Rice firm résumé; and

               Exhibit E:     Cohen Milstein firm résumé.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed April 10, 2018, at Chicago, Illinois.

                                              s/ Carol V. Gilden
                                               Carol V. Gilden




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                                 CERTIFICATE OF SERVICE

       I, Carol V. Gilden, counsel for Lynda Godkin and Proposed Lead Counsel for the Class,

certify that on this 10th day of April, 2018, I electronically filed the foregoing using the Court’s

CM/ECF system, and a copy of this filing will be sent electronically to the registered participants

as identified on the Notice of Electronic Filing.



                                              /s/ Carol V. Gilden
                                              Carol V. Gilden




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